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 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)
 DAL LAGO LAW
 Michael R. Dal Lago
 Attorney for Creditor Ramachandra Malya
 2 University Plaza
 Suite 100
 Hackensack, NJ 07601
 201-655-8414
 mike@dallagolaw.com

                                                       Case No. 20-19017 (RG)
 In Re:
                                                       Honorable Rosemary Gambardella
 HEALTH TECH HARBOR, INC.
                                                       Chapter 7
                              Debtor.
                                                       Hearing Date: June 28, 2022
                                                                    at 10:00 a.m.


                                   NOTICE OF DEPOSITION

To:       Mr. Lawrence Margolis
          c/o Genova Burns
          110 Allen Road, Suite 304
          Basking Ridge, NJ 07920
          Attn: Daniel M. Stolz, Esq.

        PLEASE TAKE NOTICE that the undersigned counsel for Creditor Ramachandra Malya,
will take the deposition, by oral examination of:

            NAME:         Lawrence Margolis

            TIME:         10:00 a.m. until completed

            DATE:         Friday, June 24, 2022

            PLACE:        Zoom Video Hosted by Naples Court Reporting

                          https://us06web.zoom.us/j/81422363570?pwd=SEhSNHRPdkNNV
                          U5hMmNkWmdHRGJqQT09

                          Meeting ID: 814 2236 3570
                          Passcode: 471411
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       The deposition will be before a court reporter, notary public, or other officer duly

authorized by law to take depositions. The deposition will be for the purposes of discovery, for use

at trial, or for such other purposes as are permitted under the Bankruptcy Code.

Dated: June 23, 2022                                       Respectfully submitted,

                                                           DAL LAGO LAW

                                                           By: /s/ Michael R. Dal Lago
                                                           Michael R. Dal Lago
                                                           2 University Plaza
                                                           Suite 100
                                                           Hackensack, NJ 07601
                                                           Email: mike@dallagolaw.com

                                                           Please use Florida Address:

                                                           999 Vanderbilt Beach Road
                                                           Suite 200
                                                           Naples, FL 34108
                                                           239-571-6877

                                                           Counsel for Ramachandra Malya




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